                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      No.:   2:12-CR-025
                                                )
ESGAR ESCAMELLA ESTRELLA                        )

                           MEMORANDUM AND ORDER

      This criminal case is before the court on the defendant’s motion for sentence

reduction. [Doc. 272]. Through counsel, the defendant asks the court to reduce his

sentence pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendments 782

and 788 to the United States Sentencing Guidelines Manual (“U.S.S.G.”).               The

government has responded [doc. 276], deferring to the court’s discretion whether and to

what extent to grant any such reduction, subject to the limitations of 18 U.S.C. §

3582(c)(2) and U.S.S.G. § 1B1.10.

I.    Authority

      “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 2685, 2690 (2011) (internal citation

and quotation marks omitted).       One such exception is identified in 18 U.S.C. §

3582(c)(2):




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      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently been
      lowered by the Sentencing Commission . . . , the court may reduce the term
      of imprisonment, after considering the factors set forth in [18 U.S.C.]
      section 3553(a) to the extent that they are applicable, if such a reduction is
      consistent with applicable policy statements issued by the Sentencing
      Commission.

      In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the court must first identify “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of

the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and citation

omitted); see also U.S.S.G. § 1B1.10(b)(1) (2015). Amendment 782, which became

effective on November 1, 2014, revised the guidelines applicable to drug-trafficking

offenses by reducing the offense levels assigned to the drug and chemical quantities

described in guidelines 2D1.1 and 2D1.11. See U.S.S.G. app. C, amend. 782 (2014).

Amendment 788, which also became effective on November 1, 2014, identified

Amendment 782 as retroactive. See id., amend. 788.

      Other than substituting Amendment 782 for the corresponding provision

applicable when the defendant was originally sentenced, the court “shall leave all other

guideline application decisions unaffected.” See U.S.S.G. § 1B1.10(b)(1) (2015).       The

court “shall not” reduce a defendant’s term of imprisonment to a term “less than the

minimum of the amended guideline range,” nor to a term “less than the term of




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imprisonment the defendant has already served.”           Id. § 1B1.10(b)(2)(A), (C). 1      In

addition, the commentary to guideline 1B1.10 provides that a court must also consider

the § 3553(a) sentencing factors and the danger to the public created by any reduction in

a defendant’s sentence. See id. cmt. n.1(B). A court may further consider a defendant’s

post-sentencing conduct. See id.

II.    Factual Background

       By judgment dated May 7, 2013, this court sentenced the defendant to a 24-month

term of imprisonment as to Count One (conspiracy to distribute cocaine) and a 60-month

mandatory consecutive term of imprisonment as to Count Eight (aiding and abetting the

possession of a firearm in furtherance of a drug trafficking offense), for a net sentence of

84 months. The defendant’s guideline range for the drug trafficking crime was 24 to 30

months, based on a total offense level of 17 and a criminal history category of I.

According to the Bureau of Prisons, the defendant is presently scheduled for release on

February 21, 2018.

III.   Analysis

       Applying Amendment 782, the defendant’s new guideline range for Count One is

18 to 24 months, based on a total offense level of 15 and a criminal history category of I.

Thus, the defendant was originally sentenced to a term of imprisonment based on a

sentencing range that has subsequently been lowered by the Sentencing Commission.
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          Guideline 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below the amended guideline range—namely, if the defendant originally received a
below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
assistance to authorities.” Id. § 1B1.10(b)(2)(B). The government did not file a substantial
assistance motion as to the present defendant.
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       The court has considered the filings in this case, along with the relevant 3553(a)

factors. Additionally, the court has considered the danger to the public as the result of

any reduction in the defendant’s sentence, the seriousness of the defendant’s offense, the

defendant’s post-sentencing conduct, and the need to protect the public. See id. § 1B1.10

cmt. n.1(B)(ii). Having done so, the court finds that the defendant should be granted a

sentence reduction.

IV.    Conclusion

       For the reasons stated herein, the defendant’s motion for sentence reduction [doc.

272] is GRANTED. The defendant’s term of imprisonment is reduced to 18 months as

to Count One. The 60-month sentence as to Count Eight remains in effect. These terms

shall be served consecutively for a reduced net sentence of 78 months.

       Except as provided above, all provisions of the judgment dated May 7, 2013, shall

remain in effect.

              IT IS SO ORDERED.

                                                       ENTER:



                                                              s/ Leon Jordan
                                                        United States District Judge




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